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                                                                                 2025 Apr-30 PM 04:02
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                   THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            MIDDLE DIVISION

UNITED STATES OF AMERICA )
                         )
    v.                   ) Case No. 4:23-cr-383-CLM-NAD
                         )
AIMAN AKRAM KAIF et al., )
                         )
    Defendant.           )

                           MOTION TO WITHDRAW

      The undersigned requests the Court to remove him as attorney of record in

this matter. The United States will be represented in this matter by Assistant

United States Attorney John M. Hundscheid.

      Respectfully submitted on April 30, 2025.

                                             PRIM F. ESCALONA
                                             United States Attorney

                                             /s/ Edward J. Canter
                                             EDWARD J. CANTER
                                             Assistant United States Attorney
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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 30, 2025, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system.


                                             /s/ Edward J. Canter
                                             EDWARD J. CANTER
                                             Assistant United States Attorney
